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                                       505 Northern Boulevard, Suite 311, Great Neck, NY 11021
                                                                               tel. 516.303.0552
Sheehan & Associates, P.C.                                                     fax 516.234.7800
                                                                  spencer@spencersheehan.com

                                                              December 10, 2019
District Judge Katherine Polk Failla


                                                            MEMO ENDORSED
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007
                                               Re: 1:19-cv-08729-KPF
                                                   Baez v. Bio-Nutritional Research Group, Inc.
Dear District Judge Failla:

        This office represents the plaintiff. In accordance with your Honor’s Individual Rules of
Practice in Civil Cases (“Individual Rules”), 2(D) and the Notice of Initial Pretrial Conference,
plaintiff requests an adjournment of the conference scheduled for December 19, 2019 at 11:00
AM. ECF No. 5, October 15, 2019.

        In addition, plaintiff requests that the submission of the Proposed Civil Case Management
Plan and Scheduling Order by Thursday of the week prior to the initial conference be adjourned
consistent with the conference date.

        Defendant’s counsel consents to this adjournment request. The reason this adjournment
request is made now is because defendant’s counsel was only yesterday authorized to accept
service on behalf of defendant. Upon receiving the waiver, plaintiff filed it and defendant’s date
to answer or move with respect to the complaint was set to February 7, 2020. Given defendant’s
counsel’s recent entry, it would be premature to confer with defendant on the case management
plan and scheduling order. There have been no prior requests for adjournment of the initial pretrial
conference and submission of the case management plan and scheduling order.

        Your Honor’s Notice of Initial Pretrial Conference states that initial pretrial conference are
intended to allow the parties to bring matters to the Court’s attention yet recognizes that in certain
instances the parties will be able to resolve proposed discovery schedules between themselves.
Plaintiff and defendant presently expect to be able to resolve such matters once they have the
opportunity to discuss the case further. Thank you.

                                                              Respectfully submitted,

                                                               /s/Spencer Sheehan
                                                              Spencer Sheehan
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                                        Certificate of Service

  I certify that on December 10, 2019, I served or emailed the foregoing by the method below to the
  persons or entities indicated, at their last known address of record (blank where not applicable).

                                                  CM/ECF         First-Class Mail      Email
   Defendant’s Counsel                               ☐                 ☒                ☐


                                                                 /s/ Spencer Sheehan
                                                                 Spencer Sheehan


Application GRANTED. Considering the deadline for Defendant's answer,
motion, or response otherwise, the Court hereby ADJOURNS the initial
pretrial conference to February 19, 2020, at 11:00 a.m. The parties'
Proposed Civil Case Management Plan ("CMP") and Scheduling Order will be
due the Thursday prior, on February 13, 2020. If the parties feel that
an initial pretrial conference is not needed, they can let the Court know
whenever they submit their Proposed CMP and Scheduling Order.

Dated:       December 10, 2019                          SO ORDERED.
             New York, New York




                                                        HON. KATHERINE POLK FAILLA
                                                        UNITED STATES DISTRICT JUDGE
